     Case: 1:18-cv-03989 Document #: 59 Filed: 05/06/20 Page 1 of 1 PageID #:591

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                                 Eastern Division

John Scatchell
                                       Plaintiff,
v.                                                        Case No.: 1:18−cv−03989
                                                          Honorable John F. Kness
Village of Melrose Park, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 6, 2020:


        MINUTE entry before the Honorable John F. Kness: Under LR 72.1, this matter is
referred to the Magistrate Judge for supervision of discovery (including all future
discovery−related motions), as well as a settlement conference if requested by the parties.
The Magistrate Judge shall have authority to set or amend all deadlines for discovery.
Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
